 Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 1 of 41




A()239 (Rev.l2/l3)ApplicationtoProceedinDistrictCourtW ithoutPrepayi
                                                                   ngFeesorCosts(LongForrnl

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                                               Southern        oistrictof Florida

 STEVEN FRANKLYN HELFAND                                              )                                                         ,...T
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                              v.                                      )     CivilActionNo. 15-62465-C17'-DlM l '# UEEAS
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                     Dqjèndant
                             m espondent                              )
        APPLICATION TO PROCEEDIN DISTRICT COURTW ITHOUTPREPAYING FFESOR CFS
                                       (Long Form )                      L.-.
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 Affidavitin SupportoftheApplication                               Instructions
 lam aplaintifforpetitionerin thiscase and declare                 CompleteaIlquestionsin thisapplication andthen sign it.
 thatlam unableto pay thecostsoftheseproceedings                   Do notleaveany blanks:iftheanswerto aquestion is'i0,''
 andthatlam entitledtothereliefrequested.1declare                  tbnone,''orltnotapplicable(N/A),''writethatresponse.lf
 underpenaltyofperjurythattheinformationbelow is                   youneedmorespaeetoansweraquestionortoexplainyour
 trueand understandt a falsestat               t a resultil1 answer,attach aseparatesheetofpaperidentifiedw ithyour
 adism issalofm y ai s.                                      nam e,yourcase'sdocketnumber,andthequestion num ber.
                                      t ..
 signed: -                                   z)z                     oate: December3.2015

         Forboth youand yourspouseestim atethe averageam ountofm oneyreceived from each ofthefollow ing
          sourcesduringthepast12months.Adjustanyamountthatwasreceivedweekly,biweekly,quarterly,
          semiannually,orannually to show themonthly rate.Usegrossamounts,thatis,amountsbeforeany deductions
          fortaxesorotherwise.
                     Incom e source                         Average m onthly incom e              Incom e am ountexpected
                                                           am ountduring the past 12                     next m onth
                                                                    m onths
                                                             You             S ouse*                You                            S ouse*
Employment                                                $ 0           $                     $     ()                  $
Self-em ploym ent+ pjease see table atEx. A               $      I75           $              $     ()                  $
Incomefrom realproperty lsucht7xrentalincome)             $                    $              $      ()                 $
                                                                 0
lnterestand dividends                                     $                    $              $      ()                 $
                                                                  0
Gifts                                                     $       200          S              $      300                S
Alimony                                                   $      ()            $              $                         $
                                                                                                    0
Child support                                             $      O             $              $     ()                  $

   *Pleasenote thattheapplicantissingleand unmarried.Applicanttherefore Ieavesblank a1lreferencesforinclusion of
   i1-lform ation fora spouse.                       48
Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 2 of 41




AO 239 (Rev.12/l3)ApplicationtoProceedinDistrictCourtW ithoutPrepayi
                                                                   ngFcesorCosts(LongForml
Retirement(sltc'htzxsocialsecurit  'î
                                    ',pensions,annuities,
                                                          $     ()            $               $   ()            $
insllrance)
Disability l.
            vlc'
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Unemploymentpayments                                     $ ()                 $               $   0             $
Public-assistance (suchtzxwel
                            fare)                        S     194            $               $ 194             $
Otherl.
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                             T                           S 569                $               $ 494             $
                              otalm onthly incom e:

        Listyouremploymenthistory forthepasttwo years,mostrecentemployerfirst.tGrossrar
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                                                                                                           vgx()1,
        otherdedltctions.)
Em ployer                        Address                                             Datesofem ploym ent            G ross
                                                                                                                 m onthl a
self-employed                    18TenthStreet,Unit1827                        December.2000toJune l.2015 Vx.A
                                  SF5 CA 94l03                                                                  $
 N ote,thatHelfand also hadan ofticeaddressat582 M arketStreet,SF,CA untilapprox.June,2015.
3.     Listyourspouse'semploymenthistory forthepasttwoyears,mostrecentemployerGrst.tGrov  b'
                                                                                           ,
                                                                                           vratpr?//?érpql.i.
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        taxest
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                              )
Em ployer                        A ddress                                           Dates ofem ploym ent            G ross
                                                                                                                 m onthl a
                                                                                                                $

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        How much cash do you andyourspousehave?$                     780.00
        Below ,state any m oney you oryourspouse have in bank accountsorin any otherfinancialinstitution.
Financialinstitution                    Type ofaccount                              A m ountyou have           A m ountyour
                                                                                                                s ouse has
BankofAmerica                            checking accounts                    $ 780.00*                    $

                                                                              $                            $

                                                                              $                            $

Ifyou areaprisoner,youm ustattach a statem entcertified by theappropriateinstitutionalofficershow ingallreceipts,
expenditures,and balancesduringtheIastsix m onthsinyourinstitutionalaccounts.lfyou have m ultipleaccounts,
perhapsbecauseyouhave been in m ultipleinstitutions,attach onecertified statem entofeach account.

 lwasloaned money to purchasehealth insuranceandthismoney isexpectedto beused on theco-pays
 form edicineby Decem ber5,2015. Pleaseseeaffidavitfoa xplanation.
Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 3 of 41




AO 239 (Rev.I2/l3)ApplicationtoProceedinDistrictCourtWithoutPrepayingFeesor(Josts(L()ngForm)
5.       Listtheassets,and theirvalues,which you ow n oryourspouseow ns.D onotlistclothing and ordinary
         household furnishings.
                                               A ssetsow ned by you or your spouse

Homefç'allte)                                                                                     $    0
Otherrealestate(I,'
                  alue)                                                                           $
                                                                                                       0

M otorvehicle111(Value)                                                                           $    xo
                                                                                                       ve lc e
               M akeand year:

               M odel:

               Registration #:

M otorvehicle 112 (value)                                                                         $
                                                                                                         o
               M akeandyear:                                                                           vehicle
               M odel:

               Registration #:

Otherassets(îzall
                Ie)                                                                               $    pjeaseseeExhibitB
Otherassets(value)                                                                                $   pjeaseseeExhibitB

         Stateeveryperson,business,ororganization ow ingyouoryourspousem oney,and theam ountowed.
Person owing you or your spouse                    A m ountow ed to you                        A m ountowed to your spouse
m one

 Presumably disputed insurance           $                                             $
 by TravelersCom m erciallns.                140,000.00
 Company, sued herein                    $                                             $

                                         $                                             $

7.      State the personsw ho rely on you oryourspouse forsupport.
Name(or.ifunder18,initialsonly)                                    Relationship                                     Age

 1do nothaveanydependents.N opersonsrely upon m e orsupport.




                                                                   50
Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 4 of 41


                                                                                                                   Page 4of 5

AO 239 (Rev.12/13)ApplicationtoProceedinDjstrictCourtW ithoutPrepayingFeesor('
                                                                             .osts(LongForml
8.       Estim atetheaveragem onthly expensesofyou and yourfam ily. Show separately theam ountspaid by your
         spouse.Adjustanypaymentsthataremadeweekly,biweekly,quarterly,semiannually,orannuallytoshow the
      mont
 Seedeclarathl
            iovn
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                  ate
                    H.elfand. lam resentl residin w ithm                  arentsand solam not a in an ex ensessaveforsome
 food-through assistancefrom SNAP.                                                             You          Yourspouse

Rentorhome-mortgagepaym ent(includinglotrentedfor?A;tJ/)ï/t
                                                          ?home)
      Arerealestatetaxesincluded? ( X Yes (D No                                                $               $
      ls ro ert insurance included? l Y es (   D No
UtiIities(electrhk
                 ilv,heatinghlel,uw/t
                                    ?r,sewer,andtelephone)                                     $ l             $
                                                                                                 30gcellphoncl
H om em aintenance(repairsandupkeep)                                                           $   ()          $

Food                                                                                           $   194(SNAPI   $

Clothing                                                                                       $               $

Laundl'
      y and dry-cleaning                                                                       $               $

M edicaland dentalexpenses                                                                     $               $
                                                                                                   2,000.00
Transportation (notinaudingvm/orvehiaepayments)                                                $    ()         $

Recreation,entertainment,newspapers,magazines,etc.                                             $    0          $

lnsurance(notJgJl/c/cJh-om wt
                            zggxorincludedinmort
                                               gagepayments)
          Homeowner'sorrenter'
                             s:                                                                $               $

                                                                                               $               $
                                                                                                     0
         Health:                                                                               $   49g         $

         M otorvehiele:                                                                        $               $
                                                                                                     0
          Other:                                                                               $               $
                ted.h-
Taxes (notdedlll.    om uwgcxorincludedinmortgagepayments)lspectfjg:                           $               $

lnstallm entpaym ents
          M otorvehiele:                                                                       $    ()         $

          Creditcard (namel.                                                                   $               $
                                 Am erican Express                                                 400.00
          Departmentstore(namel'
                               .                                                               $         ()    $

          Other:                                                                               $     0         $
                                                                                                         O
Alimony,maintenance,and supportpaid toothers                                                   $               $

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Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 5 of 41




A()239 (Rev.l2/l3)ApplicationtoProceedi
                                      nDistrictCourtW ithoutPrepayingFeesorCosts(LongForm)

Regularexpensesforoperation ofbusiness,profession,orfann (attalh detailed                    i,    $
 tatement
.%
        )                                                                                    ' 0
Other(vpecjtv'
             .                                                                               $     $

                                                            Totalm onthlyexpenses:$ 3,222.00       $
 Note,theseexpensesareunderstated considerably
         Doyouexpectanymajorchangestoyourmonthlyincomeorexpensesorinyourassetsorliabilitiesduringthe
         next 12 m onths?
         Q Yes                      Ifyes,describeon an attached sheet.
         Haveyouspent- orwillyoubespending- anymoneyforexpensesorattorneyfeesinconjunctionwiththis
         lawsuit? R Yes E
                        D No
         Ifyes,how much? S Pleaseseeaftidavit.W hateverisnecessary,thatlcan afford,including depositions
                                             '
                                    experts,perdiem''/eesforjuryorcourtreporters,documentaryexhibits.etc.-h
         Provideanyotherinform ationthatw illhelp explain why youcannotpaythecostsoftheseproceedings.

         Iam inacashcrunch.lcannotpay thefiling fee. 1willstipulateto paying thefiling feefrom proceeds
         shouldmy disabilitybeapproved,loansgetapproved,and saleofitemsatauction.

         ldentifythecity andstateofyourlegalresidenee.
            Hollp vood,Florida
                                                   415.596.5611
         Yourdaytim ephonenum ber:
         Y ourage: 44             Y ouryearsofschooling'
                                                       .
         Lastfourdigitsofyoursocial-security num ber:                0785




                                                                   52
Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 6 of 41




  A ttachm entto A O 239 -E xhibitA
  A pplicant: Steven F.H elfand
  C ase N o: 15-62465 -C 1V -D IM ITR O U LEA S / Snow

  Steven F.Helfand (hereaftertsl-
                                lelfand''jisam emberin good standing oftheBar
  ofthe State ofC alifornia. D ue to m entalhealth and physicalailm entsH elfand
  began ttw inding dow n''his law practice in A ugust20 14. Section 1 asks for
  ttaverage''m onthly incom e,along w ith othercategories,overthe preceding 12
  m onths. Helfand had 2015 incom eof$2,100.00. A ssuch,in calculating the
  m onthly am ount,Helfand provides:$2,100 /12. The following scheduleretlects
   the incom e overthe preceding tw elve m onths.

                                                                         Schedule of Incom e for 2015
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       January                                                                                                    $175
       Febrtlary                                                                                                  $175
       M arch                                                                                                     $175
       April                                                                                                      $175
       M ay                                                                                                       $175
       June                                                                                                       $175
       July                                                                                                       $175
       August                                                                                                     $175
       Septem ber                                                                                                 $175
       October                                                                                                    $175
       N ovem ber                                                                                                 $l75
       Decem ber                                                                                                  $175


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Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 7 of 41




  H ow ever,H elfand m akesplain,that,forexam ple,w hile calculationsare retlected
  in,for exam ple,Septem ber,2015,H elfand,in fact,earned no incom e in
  Septem ber,2015. A ssupportapplicantattaches a partial,unredacted copy from
  his m edicalreportfrom San Francisco G eneralH ospitaland refers the courtto the
  highlighted section gtheSeptember18,2015medicalnotel(ttliving (sic)(atlthe
  N EM A 18 10th st,studio. insom nia:afraid to sleep,paranoid som eone w as going
  to com ein to(sic)house.notworking.Iiving offassets. lim itto 3 glasses of
  alcohol.''(emphasisadded).See,ExhibitC,p.1.ln fact,themedicalnote
  retlectsthatin Septem ber,2015,Helfand tsGotem ergency m edi-cal''dueto the fact
  H elfand could notafford to pay forregularinsurance. See,ExhibitC ,p.1. The
  m edicalnote references tw o vitalprescriptionsand noted éç-l-ook Truvada and
   dolutegravir(alsoknown asTivicayqX 2 monthsbutthen stoppedd/tcostof
   m edications.'' See,Exhibit C ,p.1. H elfand subm its a person generally doesnot
   stop taking vitalm edicationsifthere are no cash-tlow /m oney issues.

   A fter,in essence,depleting allofhis liquid assetsand becom ing devastated over
   the loss in Septem ber,2015 to his collection ofantiques and fine furnishings
   (illiquid assetsj,Helfandm ovedto Hollywood,Florida,whereheisresidingwith
   hisparents. H elfand isnow a citizen ofFlorida. H elfand is notw orking.

   H elfand has received certain financialgifts to assisthim ,prim arily from his
   parents,butalso from others. Themodestbump of$100forexpectedçûgifts''(in
   thenextm onthjissimply a retlection ofgifts likely to be received forthe
   Christm as H oliday. The sam e m ethodology fordistribution ofthe gifts w as
   applied asw ith regard to incom e,supra. Forexam ple,H elfand's m otherpaid fora
   portion ofthe ttPO D ''w hich w asused to ship H elfand's belongings/possessions
   from San Francisco,C alifornia to Florida. H elfand did notreceive thism oney and
   itw aspaid directly on a creditcard to :EPO D S.'' H ow ever,itis included in the
   tcgifts''totaloutofthe abundance ofcaution and then the aggregate is spread over
   the 12m onth period.TheECPOD''giftwasmadeinOctober,2015 gtheaveragewas
   then appliedretrospectively and prospectively).



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Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 8 of 41



  O n O ctober26,2015 H elfand applied for M edicaid,SocialSecurity disability and
  SN A P. SN A P w asgranted im m ediately to H elfand and is reflected in the schedule
  at$194. See,ExhibitC ,pp.6-15.

  Helfand'sM edicaid and SocialSecurity disability applicationsare pending. Social
  Security has setdoctors'visits forH elfand on D ecem ber7,D ecem ber 10 and
  D ecem ber 14 to verify H elfand'sconditions. See,ExhibitC ,pp.2-5.

   Section 2 requests tçgrossm onthly pay''inform ation overa tw o yearperiod. ln
   2014,H elfand earned $31,000. Thus,forpurposesofsection 2,Helfand sim ply
   adds$31,000 + $2,100 = $33,100. Helfand then divides$33,100 /24 m onths.
   Thism eansthettgrossly m onthly pay''is$1,379.00 A gain,however,this
   calculation isinaccurateasHelfand did notearn any incom e in,forexam ple,
   September,2015 gseesupraj,and hisexpenseswerehigherin SanFranciscothan
   nOW .


   Section 4 requestscash balancesin banking institutions. Helfand attacheshis
   currentbalance as ofD ecem ber 3,2015. See,Exhibit C ,p.16. H elfand w as
   given a loan to purchaseHealth Insurance from Cignasince,H elfand hasbeen
   aw aiting M edicaid. H elfand ran outofm y prescriptions funded by M edi-c al. A s
   H elfand w asno longer a California citizen,H elfand could no longerappropriately
   rely onM edi-cal.See,ExhibitC,p.19 (documentshowing Helfand becamea
   subscribertoCignaon December1,20151.

   ln spite ofH elfand'snew insurance from Cigna,one vitaldrug,costing in excess
   of$1,200 perm onth isnotcovered atall;to wit,Tivicay. See,ExhibitC,p.26.
   Tw o ofHelfand'sothertwo prescriptionshave co-paysof$545 and $417,
   respectively.See,E'xhibitC,p.22;p.29 k'l-ruvadaandTivicay arefortreatment
   ofHIV;Latudaisforschizophreniaq.lThus,Helfand requireshisavailablecash



   1H elfand's m edicalissues,w hile notspecitically identified by nam e in the
   Complaint,weredisclosedtoDefendantand shallbeasubjectinthiscase.
Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 9 of 41



  forhis prescription co-pays. Even the existing cash balance is insufficient. Efforts
  are being m ade to tind available sourcesw ithin the existing tinancialconstraints.




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Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 10 of 41




   A ttachm entto A O 239 -ExhibitB
   A pplicant: Steven F.H elfand
   C ase N o: 15-62465 -ClV -D IM ITR O U LEA S /Snow

   Per Section 5,lines tto ther assets.'' These assets are m y personalpossessions
   which priortothe losswere valued atapproxim ately $190,000.00. Postloss,the
   value issubstantially dim inished ifnotoutrightgone,and m any item shad to be
   discarded.Thisincludesabedroom set,m attressand dresser. Otherdam aged
   itemsincludetwo lithographs,valuablebooks,valuableartisticmasks(oneof
   which wascompletely destroyed),acoffeetable,sofa,referenceseriesspeakersz
   and othervaluable electronic equipm entand countlessother personalpossessions.
   These assetsare allilliquid and notworth very m uch in lightofthe loss. These
   item s are also pal4 ofthe evidentiary record in thiscase.

   In an effortto raise m oney and in spite ofthe lossto betaken and inclusion w ithin
   the evidentiary record ofthis case,Bonham 's shallbe presenting 3 item s for
   auction in February,2016. H elfand attaches a sum m ary ofitem s to be presented at
   Bonham 'salong w ith the estim ates and reserves. See,ExhibitC ,p.17. These
   item swere worth about$40,000 priorto the loss.

   Additionally,HelfandhasaQuackin thePulpit''vase (LouisComfortTiffanyqthat
   H elfand ispresenting atauction in February,2016. See,ExhibitC ,p.18. This
    item w asundam aged in the loss.

   H elfand shallstipulate to paying courtfees com m encing M arch,2016 and
   reim burse the C ourtw ith the filing feesfrom the auction sales,anticipated
   disability paym ents,Ioans,etc. H elfand sim ply does nothave the cash to pay
   the filing fee at present because aIIfundsare being utilized to dealw ith
    H elfand's health,m edicalprescriptions and insurance.


    2For exam ple,H elfand ow ned tive high-end iiR eference''speakers. Collectively
    thesew ere worth over$12,500 priorto the loss. Postloss,they arew orth nothing.
    They have lostconsiderable sound quality and are unsaleable,ifnotunuseable.
Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 11 of 41




   PerSection 8,Line9: Helfand iscurrently residingwith hisparents. W hen (and,
   ifjdisability /M edicaidgetsapproved,Helfand expectsto resideathisown place
   or,atleast,devote $1,000.00 permonth forcurrentliving expenses. Thisshall
   resultin an increase to scheduled expenses.

   Per Section 9,Line 9: A uction sales,in February,2016 noted supra. D isability /
   M edicaidwithpotentialawardofbackpay gtimespentawaitingadeterm ination on
   applicationj.Helfand iscautiouslyoptim isticadisability determination shalloccur
   in orby January 2016. H elfand understandsthe initialdisability aw ard m ay be
   approxim ately $1,400.00 perm onth.H elfand isalso trying to obtain apersonal
   loan of$15,000.

   Per section 10: ltis H elfand's intention to handle the prosecution ofthis case.
   Helfandintendsto fileamotionforsumm aryjudgmentearly on.lfnecessary,
   H elfand m ay have to take up to tive depositions. IfH elfand cannotafford to take
   the depositions,H elfand shallskip them . H elfand believesthe w ritten record in
   this case is dispositive so thathis costs m ay be contained in tel'm sofferreting out
   issues. lfH elfand is unable to try to the case in lightofhis condition,H elfand has
   friend w ho resides in C alifornia,butis also a m em ber ofthe Florida bar,w ho has
   offered to assist,ifnecessary.

                                  C oncluding R em arks

    H elfand shallstipulate to paying the costs go forw ard -expected in M arch,2016.
    H elfand filed this application because given his currentstate ofGnances he cannot
    afford to pay the filing fees fora civilcase. W hen funds becom e available in light
    ofthatw hich is discussed herein,H elfand hereby stipulates to reim bursing the
    courtthe fling fee,butthisw ould be three m onthsfrom now ,approxim ately.




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Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 12 of 41




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    Correspondence from SocialSecurity                      2-5
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    D eterm inations forSteven H elfand
    Records from A ccess Florida -                          6-15
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    H elfand
    CurrentBank A ccountBalance for                          16
    Steven H elfand
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Case 0:15-cv-62465-WPD Document 8 Entered on FLSD Docket 12/03/2015 Page 13 of 41

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                                                       A pplication Status Inform ation

                                                          The follow ing statem ents are inform ationalonly.
                                                          They are currentas oftoday.You w illreceive the
                                                          officialnotice ofany decision made on yourclaim by
                                                          U.S.m ail.
                                                          As oftoday's date,a decision has notbeen m ade
                                                          on yourapplication.
                                                           The Disability Determ ination Service in yourState is
                                                           processing the m edicalpodion ofyourclaim .
                                                           Ifyou need m ore inform ation,you m ay callus toll-
                                                           free at1-800-772-1213(77Y 1-800-325-0778).SSA
                                                           representatives are available M onday through
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   STEVEN FRANKLYN HELFAND                                                             FOR SOCIAL SECURITY A DM IN ISTRAT ION
   APT F112                                                                            S69 DISABILITY DETERMINATIONS
   1400 SW 137TH AVE                                                                   PO BOX 8806
   HOLLYWOOD FL 33027                                                                  LONDON KY 40742-9703
                                                                                       RE : STEVEN FRANKLYN HELFAND
                                                                                       CASENBR: 8767905




    ADDYS PRIETO #PSY.D.                                                  Appt. Date : Monday, December O7#
    1601 NORTH PALM AVE.                                                  Appt. Time : 10 :00 AM
    SUITE 3OO
    PEMBROKE PINES, FL 33026
    Phone: 954-802-0758


    Type of examination or test: MENTAL EXAMINATION
    PLEASE FOLLOW THE INSTRUCTIONS ON THE ATTACHED SHEET
    At the time of the appointment: it may be decided that other tests are needed or that a
    scheduled test is not necessary or should not be done. If your doctor tells you not to
    the examination or test, call us imm ediately . The appointment m ay not be for a full
    examination as you may have had from your doctor. No treatment will be given .
    Please complete and return the enclosed CONFIRMATION/ADTHORIZATION FORM, by fax or mail, as
    soon as possible, or call us to confirm that you will keep the appointment. If you fax the
    enclosed confirmation/authorization form, please do not use a fax cover page. If you have
    any difficulties gettâng to this appointment, contact us immediately.
    Read the enclosed leaflet carefully. It explains more about our need for this information
    and about your responsibility for keeping a1l appointments. IF YOU DO NOT KEEP AN
    APPOINTMENT OR LET US KNOW AT LEAST 24 HOURS BEFORE THE A PPOINTMENT TIME WHY YOU CANNOT KEEP
    IT, A DECISION MAY BE MADE ON YOUR CASE BASED ON THE INFORMATION ALREADY IN YOUR FILE . THIS
    MAY RESULT IN A FINDING THAT YOU ARE NOT DISABLED .
    A fter the examination or tests are completed , we will be glad to send a copy of the report
    your healthcare professional if you give us yaur permission . If you want us to do this,
    complete the center section of the CONFIRIARTION/AUTHORIZATION FORM, sign it, and return it
    uS.
                                                                                       Sincerely,
                                                                                       K. HEARD
                                                                                       Medical Disability Adjudicator




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   STEVEN FRANKLYN HELFAND                                                                     FOR SOCIAL SECURITY ADMINISTRATION
   A PT F112                                                                                   S69 DISABILITY DETERM INATIONS
   1400 SW 137TH AVE                                                                           PO BOX 8806
   HOLLYWOOD FL 33027                                                                          LONDON KY 40742-9703

                                                                                               RE: STEVEN RRAHKT.
                                                                                                                YN HELFAND
                                                                                               CASENBR; 8767905


    You were previously notified that an appointment has been scheduled for you to obtain additional
    information that is needed to document your claim for disability benefits. This letter is to remind you
    to keep your appointment with:
    ALAN LANE MD                                                                         Appt. Date : Thursday , December 10 , 2015
    601 N. FLAMINGO ROAD SUITE 315                                                       Appt. Time ; 08 :30 AM
    PEMBROKE PINES, FL 33028
    Phone: 954-538-1177


    It is very important that you go to this examination. If you have already faxed or mailed the
    confirmation/authorization page included with our previous letter or called our office to 1et us know
    that you will keep this appoântment, you do not need to do anything.
    However, if you have not previously advised our offiee that you will keep the appointment, please contact
    our office within 10 days from the date of Ahis letter. If we do not hear from you within 10 days from
    the date of this letter, a decision may be made on your claim based on the information currently in your
    file . Because we are missing some important information, this could result in a finding that you are not
    eligible for disability benefits.
    If you cannot go to the scheduled appointmentr or if you need assistance, please call our office
    immediately .



    This letter contains information that is confidential under federal and state statutes and is intended to
    be delivered to only the named addressee. Any unauthorized use of this information may be a violation of
    criminal statutes . If you received this letter in error, you should immediately notify this agency at
    the address or the telephone number below. We will provide you with instructions regarding the disposal
     of this ietter. Under no circumstances should this information be shared, retained, or copied by anyone
     other than the named addressee.


                                                                                             Sincerely,
                                                                                             K. HEARD
                                                                                             Medical Disability Adjudicator



                                 PHONE : TOLL FREE 1-800-223-6820 or 305-596-3020, EXT 6080
                        For the Hearing Impaired, Florida Relay Services, TDD: 711 or 1- (800)955-8771
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   M4 ZHEARDK/zdiazf C-2 D0202                      November 25,                               20151120000005
   STEVEN FRANKLYN HELFAND                                                     FOR SOCIAL SECURITY ADM INISTRATION
   APT Fl12                                                                    S69 DISABILITY DETERM INATIONS
   1400 SW 137TH AVE                                                           PO BOX 8806
   HOLLYWOOD FL 33027                                                          LONDON KY 40742-9703
                                                                               RE : STEVEN FRANKLYN HELFAND
                                                                               CASENBR : 8767905

                                            QRSCHEDULED APPOINYMRNT
   We recently told you about extra medical information we needed about your condition to
   determine if you meet the requirements for Social Security benefits. Since then, it has
   become necessary for us to change your appointment. THE NEW APPOINTMENT IS AS FOLLOWS:


    SAMUEL RAND MD                                                Appt. Date: Mondayr December 14,
    4480 SHER IDAN ST                                             Appt . Time: 09:00 AM
   EMERALD HILL MEDICAL SQUARE
   HOLLYWOOD, FL 33021
   Phone: 954-966-3300


    Type of examination or                           EXAMINATION
    PLEA SE FOLLOW THE INSTRUCTIONS ON THE ATTACHED SHEET
    At the time of the appointment, it may be decided that other tests are needed or that a scheduled test is
    not necessary or should not be done. If your doctor tells you not to take the examination or test, call
    us immediately. The appointment may not be for a full examination as you may have had from your doctor.
    No treatment will be given.




    Read the enclosed leaflet carefully. lt explains more about our need for this information and about your
    responsibility for keeping a11 appointments. IF YOU DO NOT KEEP AN APPOINTMENT OR LET US KNOW AT LEAST
    24 HOURS BEFORE THE APPOINTMENT TIME WHY YOU CANNOT KEEP IT, A DECISION MAY BE MADE ON YOUR CASE BASED ON
    THE INFORMATION ALREADY IN YOUR FILE. THIS MAY RESULT IN A FINDING THAT YOU ARE NOT DISABLED.

    After the examination or tests are completed, We will be glad to send a copy of the report to your
    healtbcare professlonal lf you give us your permission. If you want us to do this, complete the center
    section of the CONFIRMATION/AUTHORIZATION FORM: sign it, and return it to us.
                                                                              Sincerely,
                                                                              K. HEARD
                                                                              Medical Disability Adjudicator




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                BillPay                           Transfers        DepositChecks


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    PROPERTY O F STEVEN HELFAND


    AnItalian Neoclassicalparcelgiltand paintdecorated consoletable
    Late1&bcentury                                                    $3000-5000 Reserve$2000


    A pairofItalian Neoclassicalparcelgil
                                        tand paintdecorated wallbrackets
    OneIate 1&bcenturyoneofIaterdate                                   $1200-1500Reserve$600


    A pairofContinentalNeoclassicalstylegiltwood consoletables
    Late19tbcentuw                                                     $4000-6000Reserve$3000




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                                                                                                                                      Steven Helfand <sh4o78@ gmail.coml


 Ti/any jack in pulpit
 Sarah Dziamba<sarahd@ ragoads.com>                                                                                                            Thu,Oct29,2015at2:11PM
 To:StevenHelfand <sh4o78@ gmail.coml

   I
   -!iSteve,


   Ijusttouched base with David regarding yourTiffanyjack.Based onthe condition,the new recommended
   estim ate Would be $3,000 - 5,000 with a reserve of$2,500.


   lfthatis amenable to you,kindly Ietm e know and Iwillputtogethera contract.


    Mal
      ny thanks,


    Sarah




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    From :Steven Helfand (mailto:sh4o78@ gmail.com)
    Sent:Monday,October26,2015 11:40 AM
    To:David Rago <david@ ragoarts.com>;Kathy Buscavage <kathy@ ragoarts.com>'
                                                                             ,Sarah Dziamba
    <sarahd@ ragoarts.com>
    Subject:Tiffanyjackin pulpit

    Ihave notheardfrom Sarah concerning thejack-in-the-pulpitcase. Please confirm thatwe are goingforwardfor
    February 2016.


    Steve helfand
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AccountNum ber:4700131
Plan:Tier5


 W ho's Covered:                                           Steven Helfand

 Date ofBirth:                                             09/04/1971

 Relationship'
             .                                             Subscriber

 Coverage From :                                            12/01/2015

 Coverage To:


*= Coverage is stilleffective.

Coverage Details
         Please remember:the i nformationon this page onl
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         including what'
                       s covered,what's notcovered and state governmentcoverage requirements,please review officialpl
                                                                                                                    an
         documents,suchas:yourinsurance cedificate,yourplan booklet,policyorcontract,yoursum mary plan description.Ifthere
         are any di#erences betweenthese plan documents and the information on thispage,youroffi
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          correct.




 Plan Features:                                   ln-Network:                                      O ut-of-Netw ork:

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  .Fam ily                                         Does NotAppl
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          Expensesyou pay to m eetyourdeductible and/orout-of-pocketm axim um *m ay be applied to b0th in-networkand out-of-
          networkamounts,depending upon yourplan.
          ADepending on yourplan,yourout-of-pocketmaximum isthe mostyou are required to pay ina planyearbefore yourplan
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          In-NetworkDeductible expenses include Medical,MentalHeaI
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          In-NetworkOut-of-pocketexpensesincludeMedical,MentalHeaIth,PharmacyandVision.                                                          (6l
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    O ut-of-Network Deductible expenses include Medical,M entalHeal
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    Out-of-NetworkOut-of-pocketexpenses include Medical,MentalHealth,Pharmacy and Vision.




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Youpay $45.00Non-Preferred Brand:*                                         You pay 500
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 Non-preferred Brand:*                                    You pay 500
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                                                                      Totalcost:$1,423.26
                                                                        Plan pays:$996.28
                                                                              You pay:

                                                                               26.98*
                                                                   Monthlysavings:$118.46
                                                              (800)835-3784(te1:18008353784)
                                                *May require purchaseof90-day supply($1,280.93)
                                                                VIEW O PTIONS FOR ORDERING

                                                                          View Messages



                                                                 C ostco Pharm acy 742

                                                                       Totalcost:$1,363.59
                                                                        Plan pays:$818.15
                                                                               You pay:

                                                                          $545.44
                                                                      15915 Pines Blvd
                                                                   Pembroke Pines,FL 33027
                                                                (954)266-3488(te1:9542663488)




TRUVADA NDC number(61958070101)
Please note thatpricesare notguaranteed,neitheristhe display ofa price a guarantee ofcoverage.Yourcosts and coverage may
vary atthe time you fillyourprescripti
                                     on atthe pharmacy and pricing atindividualpharmacies mayvary.Coverage and pricing terms
aresubjecttochange.Yourpharmacymayofferaspeci
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displayed here.Please consultyourpharm acy.
Yourdoctor' s instructionson how to take a medication,state and federaldispensing guidelines,orhow a medication is packaged may
impactthe quantity and/ordays'suppl   y thatyou can receive from a pharmacy,and therefore,may impactpricing.Data provided is
based upon currentcoverage information supplied by yourhealth plan,Some ora1lofthe alternati  ve medicationsmay notbe
appropriate foryou.AIIalternativeswillrequire yourdoctor'sapprovaland a new prescription.Contactyourdoctorto discusswhich
option may be rightforyou.
Please consultyourhealth plan forcomplete information.This information isforthe exclusi
                                                                                      ve use ofCigna Pharmacy customersand is
intended to be used fordrug price comparisons underthe customer'splan.This information is notintended to be used formaking
medicaldecisions.Please consultwith yourdoctoron medicati  on choices thatare specific to yourcondition ortreatment.

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For:StevenIDOB:09/04/1971                                                                                    STARTOVER


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             Cigna Home Delivery Pharmacy -0.0 m iles
             (800)835-37841Y0urMailbox
                      Costco Pharm acy 742 -1.2 m iles
                      (954)266-3488115915PinesBlvd
                      Publix Pharmacy 1068 -1.2 m iles
                      (954)431-2261115729 PinesBlvd
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                                            s product.Please contactyourphysician foral
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                      the CustomerService numberon the backofyourID card to discuss plan specifics.




                                                                Costco Pharm acy 742

   Yourprescription drug plan does notcoverthis product.Please contactyourphysician foral
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                       the CustomerService num beron the backofyourID card to discuss plan specifi
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TIVICAY NDC number(49702022813)
Please note thatpricesare notguaranteed,nei    theris the display ofa price a guarantee ofcoverage.Yourcosts and coverage may
vary atthe time you fiffyourprescription atthe pharmacyand pri  cing atindividualpharmacies mayvary.Coverage and pricing terms
are subjecttochange.Yourpharmacymayo#eraspecialsale priceonaspecificmedicationwhich maybe lessthantheprice
displayed here.Please consultyourpharmacy.
Yourdoctor's instructionson how to take a medication,state and federaldispensing guidelines,orhow a medication ispackaged may
im pactthe quantity and/ordays'supply thatyou can receive from a pharm acy,and therefore,m ay impactpricing.Data provided is
based upon currentcoverage information supplied byyourhealth pl  an.Some oraIIofthe alternative medications may notbe
appropriate foryou.AlIalternati
                              veswillrequire yourdoctor'sapprovaland a new prescription.Contactyourdoctorto discusswhich
option may be rightforyou.
Please consul tyourhealth plan forcom plete inform ation,This information isforthe exclusive use ofCigna Pharm acy custom ersand is
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       Cigna Home Delivery Pharm acy -0.0 m iles
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          Costco Pharm acy 742 -1.2 m iles
           (954)266-3488115915PinesBlvd
           Publix Pharm acy 1068 -1.2 m iles
           (954)431-2261j15729 PinesBl
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  Selectup to 2 retailpharmaciesto com pare costestimates:
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   t)x.LatudaTAB60MG
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        Latuda TAB 80MG
        Latuda TAB 120MG

   Quantity


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 LATUDA TAB 60MG (Brand)

                                                      C igna Hom e Delivery Pharm acy

                                                                      Totalcost:$858.59
                                                                      Pl
                                                                       anpays:$429.29
                                                                            You pay:

                                                                             29.30*
                                                                    Monthly savings:$0.00
                                                             (800)835-3784 (tel:18008353784)
                                               *Mayrequirepurchase of90-daysupply($1,287.89)
                                                               VIEW O PTI
                                                                        O NS FO R ORDERING

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                                                                           LowestCost
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                                                               Costco Pharm acy 742

                                                                      Totalcost:$834.33
                                                                       Planpays:$417.16
                                                                             You pay:

                                                                         $417.17
                                                                      15915 Pines Blvd
                                                                  Pem broke Pines,FL 33027
                                                              (954)266-3488(te1:9542663488)
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LATUDA NDC number(63402030630)
$Seemorealternatives
Please note thatpricesare notguaranteed,neitheris the display ofa price a guarantee ofcoverage.Yourcosts and coverage may
vary atthe time you fillyourprescription atthe pharmacyand pricing atindividualpharm acies may vary.Coverage and pricing terms
aresubjectto change.YourpharmacymayofferaspecialsalepriceonaspecificmedicationwhichmaybeIessthanthe price
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Yourdoctor's instructions on how to take a medi  cation,state and federaldispensing guidelines,orhow a medicati on ispackaged may
impactthe quanti ty and/ordays'supply thatyou can receive from a pharmacy,and therefore,may impactpricing.Data provi     ded is
based upon currentcoverage information supplied byyourhealth plan.Some oraIIofthe al       ternative medications may notbe
appropriate foryou.A IIalternativesw illrequire yourdoctor's approvaland a new prescription.Contactyourdoctorto discussw hi  ch
option may be rightforyou.

Please consultyourhealth planforcom plete information.This information isforthe exclusive use ofCigna Pharmacy customersand is
intended to be used fordrug price comparisons underthe customer'splan.This information is notintended to be used formaking
medicaldecisions.Please consultwithyourdoctoron medication choices thatare specific to yourcondi   ti
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